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                       IN THE UNITED STATES DISTRICT COURT
                      FOR WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,

                                       Plaintiff,
                                                    CIVIL ACTION NO. 2:22-CV-547(MJH)
                 v.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LLC,
AMERICAN INCOME LIFE INSURANCE
                                                    ELECTRONICALLY FILED
COMPANY,

                                    Defendants.

                 AFFIDAVIT OF JEFFREY M. HAMMER IN SUPPORT OF
                      MOTION FOR ADMISSION PRO HAC VICE

         I, Jeffrey M. Hammer, make this Affidavit in support of the motion for my admission to

appear and practice in this Court in the above-captioned matter as counsel pro hac vice for

Defendant, American Income Life Insurance Company in the above-captioned matter pursuant to

LCvR 83.2 and LCvR 83.3. and this Court’s Standing Order Regarding Pro Hac Vice

Admission.

         I, being duly sworn, do hereby depose and say as follows:

         1.      I am a Partner of the law firm King & Spalding LLP.

         2.      My business address is 633 West Fifth Street, Suite 1600, Los Angeles, CA

90071.

         3.      I am a member in good standing of the following State Courts and/or United

States Courts:

                 Court                                               Date of Admission

                 California                                          2009
                 Illinois                                            2007
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               USDC Central District of CA                           2009
               USDC Northern District of CA                          2013
               USDC Northern District of IL                          2007
               USDC Western District of MI                           2023
               US Court of Appeals for the Second Circuit            2018
               US Court of Appeals for the Third Circuit             2018
               US Court of Appeals for the Ninth Circuit             2011
               US Court of Appeals for the D.C. Circuit              2008

       4.      I have never been disbarred, suspended or disciplined by any court.

       5.      My California bar identification number is 264232.

       6.      A current certificate of good standing is attached to this Affidavit as Exhibit “A”.

       7.      I attest I am a registered user of the ECF in the United States District Court for the

Western District of Pennsylvania.

       8.      I attest that I have read, know and understand the Local Rules of the Court for the

United State District Court for the Western District of Pennsylvania.

       9.      Based upon the foregoing, I respectfully request that I be granted pro hac vice

admission in this matter.


       I certify and attest that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are false, I am subject to punishment.


DATED: February 15, 2024
                                                      ____________________________
                                                      Jeffrey M. Hammer
                                                      State Bar No. 264232
                                                      King & Spalding LLP
                                                      633 West Fifth Street
                                                      Suite 1600
                                                      Los Angeles, CA 90071
                                                      213-443-4355 (Phone)
                                                      213-443-4310 (Fax)
                                                      Email: jhammer@kslaw.com
